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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF ARIZONA


 Federal Trade Commission,                   Case Number:

         Plaintiff,                          CV-23-02711-PHX-JZB

                vs.                          FIRST AMENDED
 Grand Canyon Education, Inc.;               COMPLAINT FOR
                                             PERMANENT
 Grand Canyon University; and                INJUNCTION,
                                             MONETARY
 Brian E. Mueller,                           JUDGMENT AND
                                             OTHER RELIEF
         Defendants.

        Plaintiff, the Federal Trade Commission (“FTC” or “Commission”),
for its complaint alleges:

   1.      The FTC brings this action for Defendants’ violations of Section
5(a) of the FTC Act, 15 U.S.C. § 45(a), and the FTC’s Telemarketing Sales
Rule, as amended, 16 C.F.R. Part 310. For these violations, the FTC seeks

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relief, including monetary relief, a permanent injunction, and other relief
pursuant to Sections 13(b), and 19 of the Federal Trade Commission Act

(“FTC Act”), 15 U.S.C. §§ 53(b), 56(a), and 57b, and Section 6 of the
Telemarketing and Consumer Fraud and Abuse Prevention Act (the
“Telemarketing Act”), 15 U.S.C. § 6105.

                       JURISDICTION AND VENUE
   2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
§§ 1331, 1337(a), and 1345.
   3.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1),
(b)(2), (c)(1), and (c)(2), and 15 U.S.C. § 53(b). Defendants reside in and
transact business in this District.

                                  PLAINTIFF
   4.     The FTC is an independent agency of the United States
Government created by the FTC Act, which authorizes the FTC to
commence this district court civil action by its own attorneys. 15 U.S.C.
§§ 41–58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C.
§ 45(a), which prohibits unfair or deceptive acts or practices in or affecting

commerce. The FTC also enforces the Telemarketing Sales Rule, 16 C.F.R.
Part 310 (the “TSR” or “Rule”), which prohibits deceptive and abusive
telemarketing practices.

                                DEFENDANTS
   5.     Defendant GRAND CANYON EDUCATION, INC. (“GCE”) is a
Delaware corporation with its principal place of business at 2600 W.


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Camelback Road, Phoenix, AZ 85017. GCE stock is publicly traded under
the trading symbol LOPE. GCE was previously named “Significant

Education, LLC” and “Significant Education, Inc.” and changed its name to
GCE in 2008. Through June 30, 2018, GCE owned and operated the
university known as “Grand Canyon University” as a for-profit institution.

Since July 1, 2018, as a result of a series of transactions orchestrated by
GCE and its officers, GCE has been the exclusive provider of marketing
services for Defendant GCU and receives most of Grand Canyon
University’s revenue.
   6.     Defendant GRAND CANYON UNIVERSITY (“GCU”) is an
Arizona corporation formerly known as Gazelle University. It acquired
rights to the name “Grand Canyon University” and began using that name in
July 2018. Its principal place of business is 3300 W. Camelback Road,
Phoenix, AZ 85017.

   7.     Defendant BRIAN E. MUELLER is the President of GCU, and the
Chief Executive Officer, Chairman of the Board and a director of Defendant
GCE. He directed GCE’s efforts to re-brand the University as a nonprofit,

and promoted representations that the July 2018 division of operations
between GCE and GCU resulted in the University returning to operation as a
traditional nonprofit university. At all times relevant to this Complaint,

acting alone or in concert with others, he has formulated, directed,
controlled, had the authority to control, or participated in the acts and




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practices of GCU and GCE, including the acts and practices described in this
Complaint.

                                COMMERCE
   8.     At all times relevant to this Complaint, Defendants have
maintained a substantial course of trade in or affecting commerce, as

“commerce” is defined in Section 4 of the FTC Act, 15 U.S.C. § 44.

                DEFENDANTS’ BUSINESS ACTIVITIES
   9.     Defendants market postsecondary educational services online and
through telemarketing. Despite operating the school for the profit of GCE
and its investors, Defendants have deceptively advertised Grand Canyon
University as a nonprofit to prospective students. Defendants’ marketing
activities have also resulted in millions of abusive telemarketing calls to
consumers who have specifically requested that Defendants not solicit them,
and to individuals on the National Do Not Call Registry. In addition,
Defendants have marketed “accelerated” doctoral programs requiring only
twenty courses (or 60 credits) when, in fact, Grand Canyon University
requires almost all doctoral students to take many more “continuation

courses” that add thousands of dollars to the costs.

                   GCE’s Creation of Gazelle University
                     and Transfer of the GCU Name
   10.    In 2004, GCE purchased the assets of a nonprofit college that had
been operating in Phoenix, Arizona since 1951 under the names “Grand

Canyon College” or “Grand Canyon University” and began operating the
school as a for-profit educational institution. GCE became a publicly traded

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company in November 2008, published business plans for maximizing the
financial performance of the institution, and solicited investment based on

the reported and projected profit from GCE’s operation of this institution.
   11.   Beginning on or about 2014, GCE and Defendant Mueller
formulated a plan to transfer the name and some of the assets of Grand

Canyon University to a new corporation with the goal of characterizing it as
a nonprofit university. In furtherance of this plan, on November 18, 2014,
Defendant Mueller, who was at the time the Chief Executive Officer
(“CEO”) of GCE, chartered a new corporation, named “Gazelle University”
(later renamed Grand Canyon University, hereinafter “GCU” or “Gazelle
University/GCU”), under the Arizona Nonprofit Corporation Act, A.R.S.

§§ 10-3101 – 10-11702.
   12.   Defendant Mueller also became the President of Gazelle
University/GCU. In 2017, Defendant Mueller became Chairman of the
Board of GCE. Since 2017, he has continuously held the offices of CEO of
GCE, Chairman of the Board of GCE, and President of Gazelle
University/GCU. Mueller receives salary, bonuses, and other compensation
from both Defendants GCU and GCE. His compensation includes cash and
stock incentives that are linked to GCE’s financial performance and are
explicitly designed to align his interests with those of GCE stockholders. He
holds GCE stock of significant value. As CEO and Chairman of the Board
of GCE, Defendant Mueller is GCE’s principal representative in dealings




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with stockholders and reporting to investors on GCE’s financial results and
prospects.

   13.    Gazelle University/GCU was organized to carry on the business of
selling educational services and related activities for its own profit and for
the profit of GCE. Gazelle University/GCU was organized to acquire, own,

and operate portions of the University owned by GCE, and use at least some
of its earnings from this business to acquire property, secure loans,
accumulate capital, and otherwise perpetuate and expand its business, and to
increase the assets of the corporation and their value. Accordingly,
Defendant Gazelle University/GCU was organized and has been operated to
carry on business for its own profit or that of its members, within the

meaning of Section 4 of the FTC Act. 15 U.S.C. § 44.
   14.    The articles of incorporation of Gazelle University/GCU represent
that it is organized and operated exclusively for charitable, religious, and
scientific purposes within the meaning of Section 501(c)(3) of the Internal
Revenue Code. Notwithstanding these articles of incorporation, Gazelle
University/GCU was not organized exclusively for these purposes or
exclusively for its own profit. In fact, it was organized by GCE and
Defendant Mueller for Gazelle University/GCU’s own profit, and to advance
GCE’s for-profit business and advance Defendant Mueller’s interests as
officer, chairman, director, stockholder and promoter of investment in GCE.
   15.    On July 1, 2018, GCE executed interrelated agreements that
resulted in Gazelle University assuming its current name, Grand Canyon


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University. As a result of these agreements, GCE transferred the
trademarks, campus, and certain assets and liabilities of the institution that

GCE had operated as “Grand Canyon University,” to GCU in exchange for
GCU agreeing to pay GCE more than $870 million plus 6% annual interest.
A “Master Services Agreement” executed as part of this transaction makes

GCE the service provider for certain essential GCU operations in exchange
for a bundled fee that is equal to 60% of GCU’s “Adjusted Gross Revenue.”
   16.    Since July 1, 2018, pursuant to the Master Services Agreement,
GCE has been the exclusive provider of marketing for GCU and services
related to communicating with prospective GCU students regarding
applications, program requirements, and financing options. GCE, pursuant

to the Master Services Agreement, is also the exclusive provider for GCU of
student support services and counseling, technology (including GCU’s
platform for online education) and budget analysis services. GCU is not
permitted to contract with any third party for these services. Since July 1,
2018, GCE has also been the sole provider of GCU’s student records
management, curriculum services, accounting services, technology services,
financial aid services, human resources services, procurement, and faculty
payroll and training.
   17.    The fees GCE receives from GCU are not subject to any limit and
are not proportionate to GCE’s costs for providing services to GCE. GCE
receives 60% of GCU’s revenue from tuition and fees from students,
including 60% of charitable contributions to GCU for payment of student


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tuition and fees. If GCU revenue from these sources increases at a rate
faster than operating costs, GCE disproportionately benefits from the

increased revenue. In addition, GCE does not provide services for student
housing, food services, operation of the GCU hotel conference center, or
athletic arena, but still receives 60% of the revenue from these operations. If

GCU revenue from these activities increases, GCE disproportionately
benefits.
   18.      The Master Services Agreement makes it impractical for GCU to
use any provider other than GCE for essential services. GCU must receive
services designated as exclusive from GCE, and if GCU elects to use a third
party to provide services that are not designated as exclusive to GCE, GCU

is still obligated to pay GCE the entire bundled fee, equal to 60% of GCU’s
Adjusted Gross Revenue. As a result of the July 1, 2018 agreements, GCE
also controls technology and licenses essential to GCU’s online educational
services.
   19.      The transfer of assets and creation of obligations implemented in
the July 1, 2018 agreements between GCE and GCU benefited the business
interest of GCE and its stockholders. After the transaction was completed,
GCE adjusted its bonus compensation standards to pay bonuses totaling
more than one million dollars to the GCE executives responsible for the
Master Services Agreement entitling GCE to 60% of GCU’s revenue.
   20.      Since July 1, 2018, GCU’s revenue has generated profit for itself,
for GCE, and for GCE’s investors. Since the July 1, 2018 reorganization of


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the University’s assets, GCU has also generated revenue and profit. GCU
has used its earnings to acquire property, accumulate reserves and enhance

the value of its assets, and has reportedly increased the net value of its assets
by more than $125 million. GCE reports to investors that it has profited, and
projects that it will continue to profit, from GCU’s obligations to GCE.

GCU continues to be GCE’s most significant source of revenue.
   21.    GCU’s operations since July 1, 2018, are not comparable to Grand
Canyon University’s operation as a nonprofit prior to 2004, as GCU is
largely operated by, and most of its revenue is paid to, GCE – the for-profit
corporation that owned and operated the University from 2004 until July 1,
2018.

              Defendants Have Marketed GCU as a Nonprofit
   22.    Beginning shortly after transfer of the “Grand Canyon University”
name to GCU on July 1, 2018, Defendants began promoting GCU in
advertising and telemarketing as a private “nonprofit” university and
disseminated digital and print advertising like the following, stating that
GCU had gone “Back to Non-Profit Roots” and “transitioned back to a non-
profit institution.”




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   23.    Defendants disseminated the advertisement above and similar
statements representing that GCU had transitioned back to a nonprofit on
websites, social media, press releases, video marketing and social media.
Defendants used claims that GCU is a nonprofit to induce enrollment in
GCU, and to induce consumers to provide their telephone numbers and other
information for the use of GCE telemarketers. For example, the digital
advertisement shown in Paragraph 22 appears adjacent to an online form
urging consumers to “Let Us Know How To Contact You,” with boxes for
the consumer to submit their name, telephone number and information about
their interest in educational services.

   24.    The representations that GCU was a nonprofit and had
“transitioned back” to its non-profit roots were material to consumers and
benefited GCE.
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         a. In December 2018, Defendant Mueller, the Chief Executive
            Officer of GCE and President of GCU, stated in an interview that

            the characterization of GCU as a non-profit educational institution
            “is a tremendous advantage . . . We can recruit in high schools that
            would not let us in the past . . . We’re just 90 days into this, but

            we’re experiencing, we believe, a tailwind already just because of
            how many students didn’t pick up the phone because we were for-
            profit.”
         b. On February 20, 2019, CEO Mueller stated during GCE’s earnings
            call for the fourth quarter of 2018: “[N]ew student online growth
            [after the conversion of Gazelle to GCU] was more than we

            expected and I think it’s evidence that being out there now a
            million times a day saying we’re non-profit has had an impact.”
   25.      Defendants discontinued and removed most statements
characterizing GCU as a nonprofit shortly after November 6, 2019. On that
date, the Department of Education rejected GCU’s request that it be
recognized as a nonprofit institution under the Higher Education Act, and
classified GCU as a for-profit participant in federal education programs. As
part of the Department’s action on GCU’s application, the Department
concluded that “GCU must cease any advertising or notices that refer to its
‘nonprofit status.’ Such statements are confusing to students and the public,
who may interpret such statements to mean that the Department considers
GCU a nonprofit under its regulations.”


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   26.    The Department of Education determined that GCU does not meet
the “operational test” for nonprofit status “that both the primary activities of

the organization and its stream of revenue benefit the nonprofit itself.” The
Department concluded that materials GCU submitted to the Department
concerning the July 1, 2018 transactions “demonstrate that GCE and its

stockholders – rather than Gazelle/GCU – are the primary beneficiaries of
the operation of GCU under the terms of the Master Services Agreement.
This violates the most basic tenet of nonprofit status – that the nonprofit be
primarily operated for a tax-exempt purpose and not substantially for the
benefit of any other person or entity.”
   27.    GCU is challenging the Department of Education’s November 6,

2019 decision. See Grand Canyon University v. Cardona, No. 2:21-cv-
00177, Order (D. Ariz., Dec. 1, 2022) (ruling the Department of Education
lawfully concluded GCU is not nonprofit), appeal pending, No. 23-15124
(9th Cir.). GCU specifically seeks a declaration that GCU is entitled to refer
to itself publicly as a nonprofit institution for all purposes.

                         Defendants’ Telemarketing
   28.    GCU currently has approximately 118,000 students; over 90,000 of
them are enrolled in online programs.
   29.    GCE, in the name of and on behalf of GCU, induces consumers to
purchase educational services from GCU, including through nationwide
marketing campaigns.




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   30.   Defendants use online and social media advertisements, and in-
person solicitations, to obtain information about consumers interested in

educational services, including their name, contact information, and
interests. Defendants use that information to conduct further marketing,
including telemarketing.

   31.   GCE has hundreds of sales representatives that solicit prospective
students through a variety of means, including telemarketing. GCE’s
telemarketers tell prospective students that they are GCU counselors. The
telemarketers’ duties include describing the central characteristics of GCU to
prospective students, and the requirements, costs, and projected length of
GCU educational programs.

   32.   GCE has established job “performance metrics” for telemarketers
that include “Annual Student Counts” that specify the number of consumers
each telemarketer should enroll and retain. GCE tracks, and its managers
regularly review, the number of consumers each telemarketer enrolls, and
the number of telemarketing calls telemarketers make to fulfill sales
expectations. Telemarketers who fail to meet GCE’s telemarketing metrics
are placed on “Corrective Action Plans” that routinely include requiring
telemarketers to make 80-89 telemarketing calls each day, and to spend three
to four and a half hours a day on the telephone. Telemarketers that fail to
comply with Corrective Action Plans are subject to disciplinary action,
including termination.




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   33.   Since at least 2017, GCE has used its customer relationship
management (“CRM”) system to give telemarketers telephone numbers and

other information about consumers that GCE telemarketers use to initiate
telephone calls that urge individuals to purchase educational services from
GCU.

   34.   Since July 2018, Defendant GCE has initiated tens of millions of
telemarketing calls on behalf of GCU.
   35.   Consumers have requested that GCU and telemarketers acting on
its behalf not make telemarketing calls to their numbers. GCE maintains a
list of telephone numbers that have been identified in such requests.
   36.   Until at least March 2023, GCE did not remove from the CRM

system, or block their telemarketers’ access to, the telephone numbers of
individuals who had requested that telemarketers acting on behalf of GCU
not call their numbers.
   37.   GCE telemarketers acting on behalf of GCU have initiated more
than a million telemarketing calls to telephone numbers of consumers who
had, prior to the call, specifically requested that telemarketing calls for GCU
not be made to that telephone number.
   38.   GCU and GCE have access to the National Do Not Call Registry
maintained by the Federal Trade Commission.
   39.   Until at least March 2023, GCE did not remove from the CRM
system, or block their telemarketers’ access to, the telephone numbers of any
individuals whose telephone numbers were listed on the Registry. GCE, in


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fact, provided its telemarketers with telephone numbers listed on the
Registry even if GCE had no basis for claiming that telemarketing calls on

behalf of GCU to a given number were permissible.
   40.      GCE telemarketers have initiated millions of telemarketing calls on
behalf of GCU to telephone numbers of consumers who had, prior to the

call, placed their numbers on the National Do Not Call Registry even though
GCU did not have an established business relationship with the person
receiving the call or the consumer’s express agreement, in writing, to place
such telemarketing calls to the person’s telephone number.
   41.      Defendants also have made millions of telemarketing calls to
telephone numbers on the National Do Not Call Registry after GCE notified

telemarketers that the telephone numbers are exempt from do-not-call
restrictions. In fact, many of these telephone numbers were collected
through online and social media advertisements that do not clearly disclose
to consumers the language purporting to authorize telemarketing because
they:
   a. Present the language regarding telephone calls in small type;
   b. Present the language regarding telephone calls in pale print or colors
         that barely contrast with the background (e.g., Paragraph 43);
   c. Surround the language regarding telephone calls with text in more
         prominent, contrasting type, that states that the purpose of the form is
         to confirm entries (e.g., Paragraph 45);




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   d. Instruct the consumer to advance to the next screen with terms that do
         not indicate that doing so constitutes an agreement or authorization;

   e. Place the language regarding telephone calls below the graphic the
         consumer engages with to submit the form or advance to the next
         screen (e.g., Paragraphs 42, 44 and 45);

   f. Do not name GCU as the entity that is being authorized to place
         telemarketing calls to the consumer (e.g., Paragraph 44); or
   g. Do not include the telephone number that is the subject of the
         purported authorization (e.g., Paragraphs 42, 43).
   42.      For example, at Grand Canyon University’s main website
(gcu.edu), Defendants have acquired telephone numbers by presenting the

following and similar online forms to solicit consumers:




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   43.   Defendants have acquired telephone numbers by presenting the
following and similar online forms to solicit consumers at other websites and

digital advertising media:




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   44.    Defendants also purchase information about consumers from lead
generators. Defendants have purchased telephone numbers and other

information from lead generators that have used the following and similar
online forms to solicit the information Defendants purchased:




   45.   Defendants have also purchased information from lead generators
that used the following and similar online forms to solicit the information
Defendants purchased:


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   46.    An individual who has been prompted to press or click “Next”,
“see results!”, “Submit Info” or similar prompts on the forms in Paragraphs
42, 43, 44, and 45, or similar forms used by Defendants and lead generators

from which Defendants have purchased leads, has not signed a written
agreement that clearly evidences the person’s authorization that calls made
by or on behalf of GCU may be placed to a telephone number included in

the writing.
   47.    In public guidance available throughout the relevant time period,
the FTC has advised that, to obtain valid express authorization to call a

consumer, a seller must obtain the consumers’ affirmative assent to a written
authorization that is not hidden; printed in small, pale, or non-contrasting
type; or buried in unrelated information where a person would not expect to
find such a request. GCE and GCU had actual notice of this FTC guidance
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and were warned by professional telemarketing compliance services that, to
constitute valid express written agreement authorizing GCU telemarketing

calls, a purported agreement must clearly and conspicuously disclose that the
person authorizes the seller to make telemarketing calls; must specifically
indicate the seller to whom consent is being provided; must include the

telephone number at which the person consents to receive calls; and must
require that the consumer take some affirmative action that indicates the
consumer’s assent.
   48.   Until the FTC inquired into GCE’s history of calling telephone
numbers on do-not-call lists in 2022, Defendants did not examine GCE’s
call records to determine whether telemarketers were initiating calls to

telephone numbers of individuals who had requested that GCU telemarketers
not call their numbers and individuals who had placed their telephone
numbers on the Registry. Defendants also took no action to deter
telemarketers who initiated telemarketing calls that were contrary to GCE’s
own do-not-call policies. Defendants’ written plan for do-not-call
compliance did not provide for monitoring or enforcement.
   49.   After the FTC inquired into GCE’s history of calling telephone
numbers on do-not-call lists, GCE examined its telemarketer call logs and
identified millions of illegal calls. In March 2023, GCE initiated changes to
its CRM system to curtail telemarketer access to telephone numbers GCE
deemed to be inconsistent with its do-not-call policy. The March 2023
changes, however, did not alter GCE’s practice of using its CRM system to


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furnish telemarketers with telephone numbers provided on forms that do not
authorize GCU calls, and encouraging GCE’s telemarketers to call telephone

numbers obtained through such forms by using the CRM to furnish these
numbers to telemarketers with symbols indicating that GCE deems
telemarketing calls to these numbers to be exempt from do-not-call

restrictions.

           Defendants’ Marketing of GCU’s Doctoral Programs
   50.    Defendants market educational services for doctoral studies in the

fields of psychology, education, health and business that promise training in
independent research and supervised preparation of a doctoral dissertation.
Defendants represent that GCU’s College of Doctoral Studies will award
individuals who complete the prescribed courses and produce a dissertation
of academic quality research in their chosen field a Doctor of Philosophy
(PhD), Doctor of Education (EdD), Doctor of Health Administration (DHA)
or Doctor of Business Administration (DBA).
   51.    Since at least 2018, in marketing GCU’s doctoral programs,
Defendants have described these programs as “accelerated” programs that

enable students to quickly complete their degree, including quickly
completing a dissertation. Among other statements, Defendants’ marketing
for these programs has included the following:

     The College of Doctoral Studies at Grand Canyon
     University places doctoral learners on an
     accelerated path from the first day.



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     From day one, you are on an accelerated path with
     the support needed to grow & thrive. Concerned
     about your dissertation? Don’t be. At GCU,
     dissertations are built into your coursework so you
     move forward to graduation step by step.

     At Grand Canyon University, the doctoral journey is
     truly unique. From day one, you are placed on an
     accelerated path that will prepare you to succeed in
     your academic journey and career.

   52.   Defendants have distributed descriptions of the doctoral programs
to prospective students in online publications, catalogues, and charts. These
materials describe the GCU programs as twenty course programs that
require a total of 60 credits. For example, the description of requirements
for an online Doctor of Education (EdD) on GCU’s main website
(https://www.gcu.edu/degree-programs/edd-organizational-leadership-
development-qualitative), includes the following list of courses:




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   53.    Defendants have distributed enrollment agreements to prospective
doctoral students for doctoral degrees like the enrollment agreement below.

Many of these enrollment agreements, like the agreement below, include a
list of twenty courses, and an itemized list of per credit costs and fees, and
then state a specific amount as the “Total Program Tuition and Fees,” for the
doctoral program covered by the agreement. The “Total Program Tuition
and Fees” listed in such agreements is based on the tuition and fees for
twenty courses. The specific amounts in these agreements were between

$40,850 and $50,000, depending on the program and date of the agreement.




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In the agreement below, the specific amount quoted for Total Program
Tuition and Fees” is $43,720:




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   54.    Defendants also distribute estimates of tuition costs for doctoral
programs to prospective doctoral students that describe the cost of the degree

based on the cost for 60 credits, representing twenty courses.
   55.    Defendants train telemarketers for GCU doctoral degree marketing
campaigns with materials that describe the GCU doctoral programs as

requiring twenty courses, which include only three dissertation courses.
Defendants’ telemarketers solicit doctoral candidates with statements like
the following:

     The doctorate goes for 20 courses, which is 60 credits. And what
     you're doing a little differently is you're working towards your
     dissertation at the same time you’re doing your courses. So rather
     than a typical seven year doctorate, it could be completed a lot
     faster than that. . . . The ultimate goal is that you finish your
     coursework in about three years and then pretty soon after you have
     the opportunity to finish your dissertation and therefore graduate.
     So it’s a very unique system.

   56.    Defendants’ telemarketers also direct prospective students to, or
provide prospective students with, enrollment agreements, catalogues, online

publications, charts, and other material, as described in Paragraphs 52
through 54.
   57.    In fact, GCU doctoral programs are not limited to the twenty
courses identified in enrollment agreements, and dissertation courses in
these programs are not limited to the three dissertation courses listed in these
agreements (Dissertation I, II, and III). GCU’s requirements for

dissertations include eight distinct levels of review that students must
complete from the initial prospectus to final approval. Throughout the

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multi-level review process, GCU requires students to produce multiple drafts
with extensive revisions. After a student has completed two years of

coursework, GCU appoints one or more faculty members to supervise
satisfaction of the requirements. GCU often imposes these dissertation
requirements in courses after the three dissertation courses listed in the

agreements and requires any student satisfying these requirements to enroll
in, and pay additional tuition for, “continuation courses.”
   58.     Continuation courses do not involve traditional instruction but are
required by GCU while the student is conducting research and making
revisions to satisfy dissertation requirements.
   59.     The number of continuation courses and time required for doctoral

students to advance through GCU’s doctoral program depends, in substantial
part, on services provided by GCU. Students’ ability to satisfy GCU’s
requirements may be, and has been, thwarted and delayed by GCU’s actions
or inaction, such as reassignment of faculty, inconsistent demands during the
dissertation review process, and delays caused by the conduct of faculty
appointed by GCU to various roles in the dissertation review process.
   60.     The enrollment agreements Defendants have distributed to
prospective doctoral students with statements that identify the “Total Degree
Requirements,” “Total Program Credits,” or “Total Program Tuition and
Fees” do not list the continuation courses that GCU typically requires of
doctoral candidates and do not include credits or costs associated with such
courses.


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   61.      GCU very rarely awards doctoral degrees to students upon
completion of 60 credits, representing twenty courses. For example,

between July 1, 2018, and December 31, 2022, of the students who obtained
GCU doctoral degrees requiring a dissertation:
         a. GCU required continuation courses for 98.5% of the doctoral

            students to whom it awarded degrees; only 3 out of every 200
            successful doctoral students received a degree from GCU upon
            completing just 60 credits;
         b. For 78% of these students, GCU required five or more
            continuation courses;
         c. For more than half of these students, GCU required ten or more

            continuation courses;
         d. For fourteen percent of these students, GCU required twenty or
            more continuation courses in addition to the twenty courses listed
            as the required courses for their degree.
   62.      The average number of courses GCU required of doctoral
graduates awarded degrees in 2019, 2020, 2021 and 2022 was thirty-one –
the twenty courses listed in the enrollment agreements described above in
Paragraph 53, plus eleven continuation courses. GCU’s charges for eleven
continuation courses exceed $10,000.
   63.      Most of the students that enroll in GCU doctoral programs never
receive the doctoral degree for which they enrolled. Many of these students
are thwarted because they cannot afford the additional costs and time


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necessary to fulfill GCU’s requirements beyond the twenty courses
identified as required. Many students discover that GCU requires more

funds or time than Defendants represented only after they have paid
thousands of dollars in tuition and devoted years to GCU courses. Many of
these students withdraw or are compelled to leave GCU without a doctoral

degree.
      64.   To the extent that Defendants have communicated to prospective
students that GCU doctoral programs require more than the twenty courses,
they have done so in buried disclaimers, misleading statements, or
presentations that distort the program requirements. For example, in some
enrollment agreements and other materials, Defendants have included a

buried disclaimer, stating that “on average, doctoral students who graduated
required 5.2 continuation courses to complete their doctoral degree.” The
5.2 average was based on information about students graduating between
2011 and early 2017, and did not reflect the experience of recent graduates.
Defendants, however, distributed materials referencing the 5.2 average to
prospective students in 2019, 2020, 2021, and 2022. In fact, GCU has
required recent graduates to complete substantially more than 5.2
continuation courses. For example, the average number of continuation
courses GCU required of the students who graduated in 2019 was 10.6 –
more than twice the number stated in this disclaimer. The average number
of continuation courses for students who graduated in 2022 was more than
12.


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     65.      After Defendants received notice of the Commission’s
investigation, Defendants added a section to GCU’s website that

acknowledged that GCU, on average, required doctoral students to complete
significantly more than 5.2 continuation courses. Initially, GCU posted a
statement in this section that the average number of continuation courses for

doctoral graduates since 2011 was 9.5. GCU later revised this section to
state that, by the end of 2022, the average for all doctoral graduates since
2011 was 9.9 continuation courses. These statements acknowledging the
number of continuation courses GCU has required are buried in the gcu.edu
website and come too late for students enrolled prior to their release.
Moreover, this addition to GCU’s website does not acknowledge the cost of

these continuation courses. Nor does GCU include these statements about
the average number of continuation courses in the descriptions of the
requirements for doctoral degrees, like those described in Paragraph 52, that
appear on GCU’s main website. Additionally, the number of continuation
courses GCU has required has increased since 2011, and the average GCU
reports in these statements understates the number of continuation courses
GCU has required of recent doctoral graduates.
     66.      Based on the facts and violations of law alleged in this Complaint,
the FTC has reason to believe that Defendants are violating or are about to
violate laws enforced by the Commission because, among other things:
a.         Defendants continued their unlawful acts or practices despite
           complaints and lawsuits;


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b.         Defendants acted to mitigate their abusive telemarketing practices
           only after Civil Investigative Demand from the FTC required that

           GCE acknowledge the extent of GCE’s violations;
c.         Defendants continued their deceptive marketing of doctoral practices
           despite investigations by the Department of Education and the FTC;

d.         Defendants have continued to characterize GCU as a nonprofit; and
e.         Defendants GCU and GCE engaged in their unlawful acts and
           practices willfully, and knowing that their representations were
           misleading and their telemarketing practices did not comply with
           restrictions on abusive telemarketing practices.

                         VIOLATIONS OF THE FTC ACT
     67.      Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or
deceptive acts or practices in or affecting commerce.”
     68.      Misrepresentations or deceptive omissions of material fact are
deceptive acts or practices prohibited by Section 5(a) of the FTC Act.

                                    Count I
           Deceptive Representation of Being a Non-profit Institution

     69.      In numerous instances in connection with the advertising,
marketing promotion, offering for sale, or sale of educational services,
Defendants have represented, directly or indirectly, expressly or by
implication, that GCU:
           a. is a non-profit institution; and



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         b. transitioned back to its prior manner of operating as a non-profit
            institution.

   70.      The representations set forth in Paragraph 69 are false or
misleading, or were not substantiated at the time the representations were
made.

   71.      Therefore, Defendants’ representations as set forth in Paragraph 69
constitute deceptive acts or practices in violation of Section 5(a) of the FTC
Act, 15 U.S.C. § 45(a).

                                 Count II
               Deceptive Representation of Doctoral Programs

   72.      In numerous instances in connection with the advertising,
marketing, promotion, offering for sale, or sale of GCU educational services,
Defendants have represented, directly or indirectly, expressly or by
implication, that:
         a. GCU doctoral degrees that include a dissertation are typically
            completed in twenty courses or 60 credits; and
         b. GCU’s total charges for doctoral degrees that include a dissertation

            are the tuition and fees for twenty courses.
   73.      The representations set forth in Paragraph 72 are false or
misleading, or were not substantiated at the time the representations were
made.




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   74.    Therefore, Defendants’ representations as set forth in Paragraph 72
constitute deceptive acts or practices in violation of Section 5(a) of the FTC

Act, 15 U.S.C. § 45(a).

      VIOLATIONS OF THE TELEMARKETING SALES RULE
   75.    Congress directed the Commission to prescribe rules prohibiting

abusive and deceptive telemarketing acts or practices pursuant to the
Telemarketing Act, 15 U.S.C. §§ 6101-6108. The Commission adopted the
original TSR in 1995, extensively amended it in 2003, and amended certain
provisions thereafter. 16 C.F.R. Part 310.
   76.    Among other things, the 2003 amendments to the TSR established
a do-not-call registry, maintained by the Commission (the “National Do Not
Call Registry” or “Registry”), of consumers who do not wish to receive
certain types of telemarketing calls. Consumers can register their telephone
numbers on the Registry without charge either through a toll-free telephone

call or over the Internet at donotcall.gov.
   77.    Consumers who receive telemarketing calls to their registered
numbers can complain of Registry violations the same way they registered,

through a toll-free telephone call or over the Internet at donotcall.gov, or by
otherwise contacting law enforcement authorities.
   78.    The FTC allows sellers, telemarketers, and other permitted
organizations to access the Registry over the Internet at
telemarketing.donotcall.gov, to pay the fee(s) if required, and to download
the numbers not to call.


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   79.      Under the TSR, a “telemarketer” means any person who, in
connection with telemarketing, initiates or receives telephone calls to or

from a customer or donor. 16 C.F.R. § 310.2(ff). A “seller” means any
person who, in connection with a telemarketing transaction, provides, offers
to provide, or arranges for others to provide goods or services to the

customer in exchange for consideration. Id. § 301.2(dd).
   80.      It is a deceptive telemarketing act or practice and a violation of the
TSR for any seller or telemarketer to misrepresent, directly or by
implication, in the sale of goods or services, any of the following material
information:
         a. The total costs to purchase, receive, or use, and the quantity of, any

            goods or services that are the subject of a sales offer;
         b. Any material aspect of the performance, efficacy, nature, or central
            characteristics of goods or services that are the subject of a sales
            offer.
16 C.F.R. § 310.3(a)(2)(i), (iii).
   81.      Under the TSR, an “outbound telephone call” means a telephone
call initiated by a telemarketer to induce the purchase of goods or services or
to solicit a charitable contribution. 16 C.F.R. § 310.2(x).
   82.      The TSR prohibits sellers and telemarketers from initiating
outbound telephone calls to any consumer who has previously stated that he
or she does not wish to receive an outbound telephone call made by or on
behalf of the seller whose goods or services are being offered, or made by or


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on behalf of the charitable organization for which a charitable contribution is
being solicited (an “Entity-Specific Do Not Call request”). 16 C.F.R.

§ 310.4(b)(l)(iii)(A).
   83.    The TSR prohibits sellers and telemarketers from initiating an
outbound telephone call to numbers on the Registry unless the seller (1) has

obtained the consumer’s express agreement, in writing, to place such calls,
or (2) has an established business relationship with that consumer, and the
consumer has not stated that he or she does not wish to receive such calls.
16 C.F.R. § 310.4(b)(1)(iii)(B). Valid written agreement to receive a live
telemarketing call to a number on the Registry requires a writing: (i) signed
by the consumer, (ii) clearly evidencing authorization to receive calls placed

on behalf of a specific seller, and (iii) stating the phone number to which
such calls may be placed. Id. § 310.4(b)(1)(iii)(B)(1).
   84.    Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C.
§ 6102(c), and Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a
violation of the TSR constitutes an unfair or deceptive act or practice in
violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
   85.    Defendant GCE is a “telemarketer” engaged in “telemarketing” as
those terms are defined in the TSR.
   86.    Defendant GCU is a “seller” engaged in “telemarketing” as those
terms are defined in the TSR.
   87.    Defendants have engaged in telemarketing by a plan, program, or
campaign conducted to induce the purchase of educational services by the


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use of one or more telephones and which involves more than one interstate
telephone call.

    88.      Defendants initiated outbound telephone calls to consumers in the
United States to induce the purchase of educational services.

                                      Count III

                   Deceptive Telemarketing Acts or Practices

    89.      In numerous instances, in connection with the telemarketing of
educational services, Defendants have misrepresented, directly or indirectly,
expressly or by implication, material information regarding GCU and its
services, including, but not limited to representations that:
          a. GCU is a non-profit institution;
          b. GCU transitioned back to its prior manner of operation as a non-
             profit educational institution;
          c. GCU doctoral degrees that include a dissertation are typically
             completed in twenty courses or 60 credits; and
          d. GCU’s total charges for doctoral degrees that include a dissertation

             are the tuition and fees for twenty courses.
    90.      Therefore, Defendants’ acts or practices as set forth in Paragraph
89 violate Section 3103(a)(2)(i), (iii) of the TSR. 16 C.F.R. § 310.3(a)(2)(i),
(iii).




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                                  Count IV

     Calls to Persons Who Have Requested GCU Not Contact Them
                       Through Telemarketing

   91.     In numerous instances, in connection with telemarketing,
Defendants have initiated or caused others to initiate an outbound telephone

call to a person who has previously stated that he or she does not wish to
receive such a call made by or on behalf of the seller whose goods or
services are being offered in violation of the TSR. 16 C.F.R.
§ 310.4(b)(1)(iii)(A).

                                   Count V

    Calls to Persons Registered on the National Do Not Call Registry

   92.     In numerous instances, in connection with telemarketing,
Defendants have initiated or caused others to initiate an outbound telephone
call to a person’s telephone number on the National Do Not Call Registry in
violation of the TSR. 16 C.F.R. § 310.4(b)(1)(iii)(B).

                           CONSUMER INJURY

   93.     Consumers are suffering, have suffered and will continue to suffer
substantial injury as a result of Defendants’ violations of the FTC Act and
the TSR. Absent injunctive relief by this Court, Defendants are likely to
continue to injure consumers and harm the public interest.

                          PRAYER FOR RELIEF
         WHEREFORE, the FTC requests that the Court:



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   A. Enter a permanent injunction to prevent future violations of the TSR
and the FTC Act by Defendants;

   B. Award monetary and other relief within the Court’s power to grant;
      and
   C. Award any additional relief the Court determines to be just and

proper.
Dated this 5th day of September 2024


                               Respectfully submitted,

                                        /S/
                               ______________________
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                               Commission




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